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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 19-81160-CIV-SMITH

  APPLE INC.,

                       Plaintiff,

          v.

  CORELLIUM, LLC,

                       Defendant.


                                          FINAL JUDGMENT

         On December 29, 2020, this Court entered summary judgment in favor of Defendant

  Corellium, LLC on Plaintiff Apple Inc.’s claims for Direct Federal Copyright Infringement

  (Computer Programs), Direct Federal Copyright Infringement (Graphical User Interface Elements),

  and Contributory Federal Copyright Infringement under 17 U.S.C. § 501 (Second Amended

  Complaint, Counts 1–3, respectively) [DE 784]. The parties have now stipulated that: (1) Apple

  will dismiss with prejudice its claim under the Digital Millennium Copyright Act, 17 U.S.C.

  §§ 1201(a)(2), (b), and 1203 (Second Amended Complaint, Count 4); (2) Corellium will dismiss with

  prejudice its counterclaims against Apple; (3) both sides release all claims for monetary damages,

  attorneys’ fees, and costs, past, present, and future relating to this case or any appeal in this case;

  and (4) Apple preserves and retains its right to appeal the Court’s order granting summary

  judgment to Corellium on Apple’s copyright claims as to the injunctive relief only. The parties

  have now asked the Court to enter a separate Final Judgment in this Action.

         Accordingly, final judgment is entered as follows:

         (1) Both parties’ requests for monetary damages, attorneys’ fees, and costs have been

               stricken and/or released with prejudice pursuant to the parties’ stipulation;
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        (2) Judgment is entered for Corellium, LLC and against Apple Inc. as to Apple Inc.’s

           claims for direct and contributory copyright infringement against Corellium, LLC in

           accordance with the Court’s December 29, 2020 Order granting summary judgment.

           Apple Inc. preserves and retains its right to appeal the Court’s Order as to the injunctive

           relief only;

        (3) Apple Inc.’s claim against Corellium, LLC under the Digital Millennium Copyright

           Act has been dismissed with prejudice pursuant to the parties’ stipulation;

        (4) Corellium LLC’s counterclaims against Apple have been dismissed with prejudice

           pursuant to the parties’ stipulation; and

        (5) Each party shall bear its own fees and costs.

        DONE AND ORDERED in Fort Lauderdale, Florida this 17th of August, 2021.
